
THE COURT.
These are proceedings in review by different parties assailing an award in favor of one Ynez Aragon, who on April 9,1918, was injured while in the course of his employment.
The work in which he was engaged at the time of his injuries is described in Worswick Street Pav. Co. v. Industrial Acc. Com. et al., and The Employers' Liability Assur. Corp. v. Industrial Acc. Com. et al., ante, p. 550, [185 Pac. 953], he being a coworker with Selso Morales in the work therein described. The questions presented for determination are the same as those presented in the case referred to. The decision in those cases controls here.
It is ordered that the award of the commission be annulled in so far as it is against The Employers’ Liability Assurance Corporation, and that in all other respects the said award be, and the same hereby is, affirmed;
All the Justices concurred.
